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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,
Plaintiff,
: 3:47-CV-104 FILED
v. : (JUDGE MARIANI) SCRANTON
NAVIENT CORPORATION, et al., FEB @ 8 2022
Defendants. Per. S fj .
DEPUTY CLERK

AND NOW, THIS
Consumer Financial Protection Bureau’s Notice of Withdrawal of Motion in Limine (Doc.
972), IT IS HEREBY ORDERED THAT “Plaintiff's Motion in Limine to Preclude Evidence
from Outside the Relevant Time Period for this Litigation, or Alternatively, Plaintiff's Motion
to Modify the Special Master’s Order Denying Production of Data Post-Dating the Relevant

Time Period for this Litigation” (Doc. 391) is deemed WITHDRAWN.

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Robert 0. Mariani
United States District Judge

